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                       UNITED STATES DISTRICT COURT
16
                  FOR THE CENTRAL DISTRICT OF CALIFORNIA
17
     JENNY LISETTE FLORES; et al.,           )   Case No. CV 85-4544
18                                           )
19           Plaintiffs,                     )   DEFENDANTS’ OPPOSITION TO
                                             )   PLAINITFFS’ MEMORANDUM RE
20                v.                         )   CBP FACILITIES SUBJECT TO
21                                           )   MONITORING
     LORETTA E. LYNCH, Attorney              )
22   General of the United States; et al.,   )
23
                                             )
             Defendants.                     )
24                                           )
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                                             )

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           On July 27, 2018, the Court ordered the parties to file recommendations
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     regarding the appointment of an independent monitor, ECF No. 469. On August
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 4   24, the parties each filed their proposals for individuals to fill the independent

 5   monitor position, as well as proposals for the scope of work of the independent
 6
     monitor. Also in accordance with the Court’s order, on August 24, 2018,
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 8
     Defendants filed a response to Plaintiffs’ latest set of declarations. In accordance

 9   with the Court’s June 27, 2017 Order, this response specifically addressed
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     Plaintiffs’ declarations from the Rio Grande Valley Border Patrol Sector. Finally,
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12
     on that same day but not required or requested by this Court’s order, Plaintiffs

13   further filed a Memorandum Re CBP Facilities Subject to Monitoring
14
     (“Memorandum”), asking this Court to expand the scope of review of the
15
     independent monitor to include additional U.S. Customs and Border Protection
16

17   facilities outside of the Rio Grande Valley.
18
           Defendants hereby object to and oppose Plaintiffs’ Memorandum, and ask
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     the Court to deny Plaintiffs’ requests therein as untimely and inappropriate. Indeed,
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21   Plaintiffs asked for such an expansion at the July 28, 2018 status conference, and
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     this Court denied Plaintiffs’ request. If Plaintiffs wish to seek such relief, they
23
     should be required to file a motion with this Court, and to establish an entitlement
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25   to this expanded relief by clear and convincing admissible evidence, and in
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     accordance with the Federal Rules of Evidence. See Federal Rules of Evidence
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     1101(b) and (d). Because Plaintiffs seek to avoid all applicable rules of evidence
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     and procedure, and ask this Court to impose costly and burdensome relief to which
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 4   they have not established any entitlement, this Court should deny Plaintiffs’

 5   request.
 6
     DATED:       September 4, 2018         Respectfully submitted,
 7

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16                                          /s/ Sarah B. Fabian
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 1
                               CERTIFICATE OF SERVICE
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 3
           I hereby certify that on September 4, 2018, I served the foregoing pleading

 4   with attachments on all counsel of record by means of the District Clerk’s
 5
     CM/ECF electronic filing system.
 6

 7

 8                                                /s/ Sarah B. Fabian
 9                                                SARAH B. FABIAN
                                                  U.S. Department of Justice
10                                                District Court Section
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12                                                Attorney for Defendants
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